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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA                            '
                                                    '
v.                                                  '       Criminal No. A-23-CR-135-RP
                                                    '
SAINT JOVITE YOUNGBLOOD                             §

                               GOVERNMENT=S WITNESS LIST

       The United States Government submits the following witness list relating to the trial of

Saint Jovite Youngblood.

                                                    Respectfully submitted,

                                                    JAIME ESPARZA
                                                    United States Attorney


                                                    /s Daniel D. Guess
                                                    DANIEL D. GUESS
                                                    Assistant United States Attorney
                                                    903 San Jacinto, Suite 334
                                                    Austin, Texas 78701




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2023, a true and correct copy of this instrument was

filed with the District Clerk via the WDTX CM/ECF system, and the Defendant=s attorney of

record will have access to it.


                                                    /s Daniel D. Guess
                                                    DANIEL D. GUESS
                                                    Assistant United States Attorney




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                   PROBABLE FACTUAL AND SUMMARY WITNESSES

 NAME                            SUBJECT MATTER
 Justin Noble                    Noble is one of the case agents who will testify regarding the
 FBI                             investigative techniques used and facts developed during the
 Austin, Texas                   investigation.
 Lindsey Wilkinson               Wilkinson is one of the case agents who will testify regarding
 FBI                             the investigative techniques used and facts developed during the
 Austin, Texas                   investigation.
 Joe Fiedler                     Fiedler acted as an undercover agent in the investigation and
 FBI                             will testify regarding his role in the case.
 Austin, Texas
 Katie Sloma                     Sloma is a financial analyst who will testify regarding her
 FBI                             review of banking and casino records in this case
 Austin, Texas
 Eric Perardi                    Perardi will testify regarding his interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 James Holloway                  Holloway will testify regarding his interactions with
 Austin, Texas                   Youngblood and others in the scheme.
 Lane Holloway                   Holloway will testify regarding his interactions with
 Austin, Texas                   Youngblood and others in the scheme.
 Danielle Holloway               Holloway will testify regarding her interactions with
 Austin, Texas                   Youngblood and others in the scheme.
 Gary Snider                     Snider will testify regarding his interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 Dale Snider                     Snider will testify regarding her interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 Roseana York                    York will testify regarding her interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 Jason York                      York will testify regarding his interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 Marvin Knecht                   Knecht will testify regarding his interactions with Youngblood
 Austin, Texas                   and others in the scheme.
 Hanfu Lee                       Lee will testify regarding his interactions with Youngblood
 San Bernadino, California       and others in the scheme.

 Dennis Schuler, Sr.             Schuler will testify regarding his relation to Youngblood
 California
 Jason Rzepniewski               Rzepniewski will testify regarding the value of items from the
                                 scheme
 Matthew Vasquez                 Vasquez will testify regarding Youngblood's gambling activity
 Las Vegas, Nevada
 Luke McEwin                     McEwin will testify regarding Youngblood's gambling activity
 Las Vegas, Nevada

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 Scott Levins                    Levins will testify regarding military records for Youngblood
 Texas
 Darrell Lee                     Lee will testify regarding government records for Youngblood
 Texas
 John Mapes                      Mapes will testify regarding his interactions with Youngblood
 Austin, Texas
 Jeff Bridgman                   Bridgman will testify regarding his interactions with
 Pennsylvania                    Youngblood and others in the case
 Glen Morehead                   Morehead will testify regarding his interactions with
 Austin, Texas                   Youngblood and others in the case
 Karol Devries                   Devries will testify regarding her interactions with Youngblood
 Austin, Texas                   and others in the case

                              POSSIBLE FACTUAL WITNESSES

 NAME                            SUBJECT MATTER
 Adam Pohl                       Pohl will testify regarding the investigation into Youngblood
 FBI
 Loren Miller                    Pohl will testify regarding the investigation into Youngblood
 FBI
 Adam Powell                     Powell will testify regarding his interactions with Youngblood
                                 and others in the case.
 Clark Snyder                    Snyder will testify regarding his interactions with Youngblood
                                 and others in the case
 Jim Devries                     Devries will testify regarding his interactions with Youngblood
                                 and others in the case.
 Jacqueline Cantu                Cantu will testify regarding her interactions with Youngblood
                                 and others in the case.
 Stephen Catoe                   Catoe will testify regarding his interactions with Youngblood
                                 and others in the case.
 Rudolfo “Rudy” Conde            Conde will testify regarding his interactions with Youngblood
                                 and others in the case.
 Judy Edwards                    Edwards will testify regarding her interactions with
                                 Youngblood and others in the case.
 Chantal Evans                   Evans will testify regarding her interactions with Youngblood
                                 and others in the case.
 Nicole Frost                    Frost will testify regarding her interactions with Youngblood
                                 and others in the case.
 Andrea Holloway                 Holloway will testify regarding her interactions with
                                 Youngblood and others in the case.
 Jonathan Hanna                  Hanna will testify regarding his interactions with Youngblood
                                 and others in the case.
 Patricia Ann Holloway           Holloway will testify regarding her interactions with
                                 Youngblood and others in the case.

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 Seth Holloway                   Holloway will testify regarding his interactions with
                                 Youngblood and others in the case.
 Ricky Kumar                     Kumar will testify regarding his interactions with Youngblood
                                 and others in the case.
 Rebecca Kumar                   Kumar will testify regarding her interactions with Youngblood
                                 and others in the case.
 Ana Lee                         Lee will testify regarding her interactions with Youngblood and
                                 others in the case.
 Richard Hopson                  Hopson will testify regarding his interactions with Youngblood
                                 and others in the case.
 Steve Katoe                     Katoe will testify regarding his interactions with Youngblood
                                 and others in the case.
 Bruce Kelley                    Kelley will testify regarding his interactions with Youngblood
                                 and others in the case.
 Prisca Lee                      Lee will testify regarding her interactions with Youngblood and
                                 others in the case.
 Roger Lee                       Lee will testify regarding his interactions with Youngblood and
                                 others in the case.
 Kirk Lohman                     Lohman will testify regarding his interactions with Youngblood
                                 and others in the case.
 James Melton                    Melton will testify regarding his interactions with Youngblood
                                 and others in the case.
 Carlton Melton                  Melton will testify regarding his interactions with Youngblood
                                 and others in the case.
 Eric Swanson                    Swanson will testify regarding his interactions with
                                 Youngblood and others in the case.
 Zachary Noah                    Noah will testify regarding his interactions with Youngblood
                                 and others in the case.
 Letha Perardi                   Perardi will testify regarding her interactions with Youngblood
                                 and others in the case.
 Don Schweiters                  Schweiters will testify regarding his interactions with
                                 Youngblood and others in the case.
 Lindsay Snider                  Snider will testify regarding her interactions with Youngblood
                                 and others in the case.
 Gary Sertich                    Sertich will testify regarding his interactions with Youngblood
                                 and others in the case.
 Jack Rady                       Rady will testify regarding his interactions with Youngblood
                                 and others in the case.
 Jack Taylor                     Taylor will testify regarding his interactions with Youngblood
                                 and others in the case.
 Stephanie Titsworth             Titsworth will testify regarding her interactions with
                                 Youngblood and others in the case.
 Duane Weber                     Weber will testify regarding his interactions with Youngblood
                                 and others in the case.

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 Chad York                       York will testify regarding his interactions with Youngblood
                                 and others in the case.




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